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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Gregory Micheal Ellis,                           No. CV-18-04088-PHX-DWL
10                  Plaintiff,                        ORDER
11   v.
12   Circle K Corporation, et al.,
13                  Defendants.
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15           Pursuant to Local Rule Civil 42.1(e)(2) and (3), because this case appears to be
16   substantially related (if not identical) to CV 18-1842-PHX-JAT, and thus having the cases
17   heard by different Judges would require a duplication of the same work, the Court will
18   transfer CV 18-4088-PHX-DWL to the undersigned. Therefore,
19           IT IS ORDERED transferring CV 18-4088-PHX-DWL to the undersigned; the
20   case number shall be CV 18-4088-PHX-JAT.
21           Dated this 10th day of December, 2018.
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